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                UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

DANA NESSEL, Attorney
General of the State of Michigan,
                                      No.
           Plaintiff,
v.
                                      HON.
LULA CELLARS, LLC, d/b/a
LULA CELLARS,
           Defendant.


     COMPLAINT FOR PRELIMINARY AND PERMANENT
     INJUNCTIONS PURSUANT TO THE TWENTY-FIRST
     AMENDMENT ENFORCEMENT ACT AND MICHIGAN
             CONSUMER PROTECTION ACT

                                  Attorneys for Plaintiff

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Dated: March 7, 2022
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I.   PRELIMINARY STATEMENT

     1.    Plaintiff, Michigan Attorney General Dana Nessel, brings

this lawsuit against Defendant, Lula Cellars, LLC, d/b/a Lula Cellars,

(Lula Cellars) and seeks preliminary and permanent injunctive relief

pursuant to the Twenty-first Amendment Enforcement Act, 27 U.S.C. §

122a, and costs and fines pursuant to the Michigan Consumer

Protection Act, Mich. Comp. Laws § 445.901, et seq.

     2.    Lula Cellars has illegally sold and shipped intoxicating

liquors to consumers in Michigan without licensure by the Michigan

Liquor Control Commission (MLCC).

     3.    These practices violate several provisions of the Michigan

Liquor Control Code, as well as section 3 of the Michigan Consumer

Protection Act, Mich. Comp. Laws § 445.903.

     4.    The MLCC, in partnership with the Michigan Department of

Attorney General, has dedicated extensive resources to enforcing

Michigan’s alcohol sale and shipping restrictions.

     5.    In furtherance of the efforts to combat illegal sales and

shipments of alcohol and avoid litigation, Plaintiff Nessel has attempted




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to stop Lula Cellars from making illegal sales and shipments by issuing

a cease and desist letter. See Exhibits 1 & 2.

     6.    Lula Cellars failed to comply with the cease and desist

request.

     7.    Lula Cellars continues to violate the alcohol sale and

shipping laws imposed by the Michigan Liquor Control Code and, in so

doing, threatens the health, safety, and welfare of Michigan citizens.

     8.    The Twenty-first Amendment to the United States

Constitution prohibits “[t]he transportation or importation into any

State, Territory, or Possession of the United States for delivery or use

therein of intoxicating liquors, in violation of laws thereof.” U.S.

Const. Amend. XXI, § 2.

     9.    This lawsuit is required to restrain Lula Cellars from

engaging or continuing to engage in the violations alleged, to enforce

compliance with Michigan law, to enforce Michigan’s authority over the

transportation and importation of alcoholic liquor into Michigan, and to

protect the health, safety, and welfare of its citizens. See 27 U.S.C. §

122a(b)(1)-(2).




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II.   PARTIES

      10.    Plaintiff Attorney General Dana Nessel brings this suit in

her official capacity.

      11.    Defendant Lula Cellars, LLC, d/b/a Lula Cellars, is a

California company located at 2800 Guntly Road, Philo, California.


III. JURISDICTION

      12.    The Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a, permits state attorneys general to bring a civil action in federal

district courts when the attorney general “has reasonable cause to

believe that a person is engaged in, or has engaged in, any act that

would constitute a violation of a State law regulating the importation or

transportation of any intoxicating liquor.” 27 U.S.C. § 122a(b).

      13.    “Intoxicating liquor” is defined in the Twenty-first

Amendment Enforcement Act as “any spirituous, vinous, malted,

fermented, or other intoxicating liquor of any kind.” 27 U.S.C.

§ 122a(2).

      14.    This Court has jurisdiction pursuant to subsection (c)(1) of

the Twenty-first Amendment Enforcement Act, 27 U.S.C. § 122a(c)(1),

which provides in relevant part:


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      The district courts of the United States shall have
      jurisdiction over any action brought under this section by an
      attorney general against any person, except one licensed or
      otherwise authorized to produce, sell, or store intoxicating
      liquor in such state.

      15.   Lula Cellars is not licensed or otherwise authorized to

produce, sell, or store intoxicating liquor in the State of Michigan.

      16.   Plaintiff’s state law claims are so related to the action over

which this Court has original jurisdiction that they form part of the

same case or controversy under Article III of the United States

Constitution. As such, this Court has supplemental jurisdiction over

Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a).


IV.   VENUE

      17.   The Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a(c)(2), provides that “[a]n action under this section may be

brought only in accordance with section 1391 of Title 28 or in the

district in which the recipient of the intoxicating liquor resides or is

found.”

      18.   Lula Cellars made an illegal sale and shipment of

intoxicating liquor to an MLCC investigator.




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     19.   The MLCC investigator to whom Lula Cellars sold and

shipped intoxicating liquor resides in Mason, Michigan.

     20.   Mason, Michigan is in Ingham County and is located in the

Western District of Michigan federal judicial district.

     21.   Venue in the Western District is therefore appropriate

pursuant to the Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a(c)(2).


V.   BACKGROUND

     22.    Since 2015, with the close assistance of the Attorney

General’s Alcohol and Gambling Enforcement Division, the MLCC has

focused on unlicensed entities illegally selling and shipping beer and

wine to consumers in Michigan.

     23.   For the reasons alleged in this Complaint, Plaintiff has

reasonable cause to believe that Lula Cellars is violating Michigan laws

governing the transportation and importation of intoxicating liquor.

     24.   Lula Cellars continues to sell and ship wine directly to

Michigan consumers despite not holding a direct shipper license in the

State of Michigan. Lula Cellars’ activities constitute illegal importation

of intoxicating liquors.


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     25.    Michigan law generally prohibits a person from selling,

delivering, or importing alcoholic liquor in Michigan unless the “sale,

delivery, or importation is made by the [C]ommission, the

[C]ommission’s authorized agent or distributor, an authorized

distribution agent approved by order of the [C]ommission, a person

licensed by the [C]ommission, or by prior written order of the

[C]ommission.” Mich. Comp. Laws § 436.1203(1).

     26.   “Alcoholic liquor” is defined in the Michigan Liquor Control

Code as:

     any spiritous, vinous, malt, or fermented liquor, powder,
     liquids, and compounds, whether or not medicated,
     proprietary, patented, and by whatever name called,
     containing ½ of 1% or more of alcohol by volume that are fit
     for use for food purposes or beverage purposes as defined
     and classified by the [C]ommission according to alcoholic
     content as belonging to 1 of the varieties defined in this
     chapter.

Mich. Comp. Laws § 436.1105(3).

     27.   Michigan allows only “direct shipper” licensees to sell and

ship wine from outside the state directly to consumers in Michigan. See

Mich. Comp. Laws § 436.1203(4). “Direct shipper” is defined in the

Michigan Liquor Control Code as either of the following:




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     (i) A wine manufacturer that sells, delivers, or imports wine
     it has manufactured, bottled, and registered with the
     commission, to consumers in this state or that is transacted
     or caused to be transacted through the use of any mail order,
     internet, telephone, computer, device, or other electronic
     means, or sells directly to consumers on the winery
     premises.

     (ii) A wine manufacturer that purchases wine from another
     wine manufacturer and further manufactures or bottles the
     wine or purchases shiners of wine from another wine
     manufacturer in compliance with section 204a, registers the
     wine with the commission and sells the wine to consumers in
     this state that is transacted or caused to be transacted
     through the use of any mail order, internet, telephone,
     computer, device, or other electronic means, or sells directly
     to consumers on the winery premises.

Mich. Comp. Laws § 436.1203(25)(i).

     28.   Only a licensed Michigan wine maker or an out-of-state wine

producer and bottler holding both a federal basic permit and a license to

manufacture wine in its state of domicile may qualify for a direct

shipper license. Mich. Comp. Laws § 436.1203(10).

     29.   Wine satisfies the definitions of “intoxicating liquor” in the

Twenty-first Amendment Enforcement Act and “alcoholic liquor” in the

Michigan Liquor Control Code.




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VI.   FACTS

      30.   Lula Cellars has not applied for or received a license to sell

or ship alcoholic liquor pursuant to the Michigan Liquor Control Code.

      31.   On or about September 25, 2019, an MLCC investigator

reviewed common carrier reports that United Parcel Service had

submitted to the MLCC pursuant to Mich. Comp. Laws § 436.1203

concerning shipments of intoxicating liquor into Michigan in 2018 and

2019. Ten shipments were listed as being shipped to Michigan

addresses by Lula Cellars, LLC, d/b/a Lula Cellars.

      Cease and Desist Letter

      32.   On or about December 6, 2019, the Michigan Department of

Attorney General sent a cease and desist letter to Lula Cellars, LLC,

d/b/a Lula Cellars at the same return address provided on the common

carrier reports. (Exhibit 1, Cease & Desist Letter, mailing address).

      33.   An additional copy of the cease and desist letter was sent to

1999 Harris Street, 25th Floor, Oakland, CA, 94612. This address was

listed for the registered agent for Lula Cellars, LLC, d/b/a Lula Cellars.

(Exhibit 2, Registered Agent Cease & Desist Letter).




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     34.   Both letters were sent via certified mail, return receipt

requested. The receipt for the Guntly Road address was signed by Dan

Reed and returned to the Department of Attorney General. The Harris

Street receipt was returned unsigned. (Exhibit 3, Return Receipts).

     35.   The cease and desist letter informed Lula Cellars that its

practice of directly shipping wine to consumers in the State of Michigan

without possessing a direct shipper license is illegal. Furthermore, the

cease and desist letters stated that legal action would result if Lula

Cellars continued its illegal activity of selling and shipping alcoholic

liquor directly to consumers in Michigan without the proper license.

(Exhibits 1 & 2).

     Shipment to MLCC Investigator

     36.   On or about March 16, 2021, a MLCC investigator placed an

order on Lula Cellars’ website, www.lulacellars.com, for the purchase

and delivery of a 750 ml bottle of 2019 Chardonnay wine to be shipped

to Mason, MI. (Exhibit 4, Order Documentation).

     37.   The MLCC investigator purchased the wine for $32.00, paid

$18.18 for shipping and $1.92 in taxes. Id.




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      38.   On or about March 22, 2021, the MLCC investigator received

a package containing a 750 ml bottle of 2019 Chardonnay wine that was

shipped to Mason, MI. (Exhibit 5, Package Photo of Order).

      39.   The package’s return address read: 2800 Guntley [sic] Road,

Philo, CA, 95466. (Exhibit 6, Return Label).


                                 COUNT I

  CAUSE OF ACTION UNDER TWENTY-FIRST AMENDMENT
                 ENFORCEMENT ACT

      40.   Plaintiffs incorporate by reference paragraphs 1-39 as if fully

restated herein.

      41.   Subsection (b) of the Twenty-first Amendment Enforcement

Act, 27 U.S.C. § 122a(b), provides for temporary and permanent

injunctive relief, as follows:

      If the attorney general has reasonable cause to believe that a
      person is engaged in, or has engaged in, any act that would
      constitute a violation of a State law regulating the
      importation or transportation of any intoxicating liquor, the
      attorney general may bring a civil action in accordance with
      this section for injunctive relief (including a preliminary or
      permanent injunction) against the person, as the attorney
      general determines to be necessary to--

      (1) restrain the person from engaging, or continuing to
      engage, in the violation; and



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     (2) enforce compliance with the State law.

     42.   Because Lula Cellars lacked a direct shipper license, its sale

and shipment of wine to a Michigan consumer violated the prohibition

in Mich. Comp. Laws § 436.1203(1).

     43.   Because Lula Cellars does not fit within one of the categories

of persons permitted to sell, deliver, or import wine in Mich. Comp.

Laws § 436.1204(1), its sales and shipments of wine violate that statute.

     44.   Both Mich. Comp. Laws § 436.1203 and § 436.1204 are state

laws regulating the importation and transportation of intoxicating

liquor.

     45.   Defendant has also violated section 901(1) of the Michigan

Liquor Control Code, Mich. Comp. Laws § 436.1901(1), which also

regulates the importation and transportation of intoxicating liquor.

That provision states:

     A person, directly or indirectly, himself or herself or by his or
     her clerk, agent or employee shall not manufacture,
     manufacture for sale, sell, offer or keep for sale, barter,
     furnish, or import, import for sale, transport for hire, or
     transport, or possess any alcoholic liquor unless the person
     complies with this act.

     46.   Violating the Michigan Liquor Control Code constitutes a

crime. See Mich. Comp. Laws § 436.1909.


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     47.   Absent temporary and permanent injunctive relief,

Defendant may make similar illegal sales and shipments of alcoholic

liquor to Michigan consumers in the future.

     48.   All nonjudicial means of restraining Lula Cellars from

engaging in these violations and enforcing compliance with these

Michigan laws have proven inadequate.

     49.   Accordingly, Plaintiff is entitled to preliminary and

permanent injunctive relief pursuant to the Twenty-first Amendment

Enforcement Act prohibiting Lula Cellars from making future sales and

shipments of alcoholic liquor to Michigan consumers.


                                COUNT II

   MICHIGAN CONSUMER PROTECTION ACT VIOLATIONS

     50.   Plaintiff incorporates by reference paragraphs 1-49 as if fully

restated herein.

     51.   Lula Cellars has engaged in illegal alcohol sales and

shipments in Michigan to a Michigan consumer.

     52.   These practices by Lula Cellars constitute unlawful

“[u]nfair, unconscionable, or deceptive methods, acts, or practice in the

conduct of trade or commerce” under section 3 of the Michigan


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Consumer Protection Act, Mich. Comp. Laws § 445.903(1), because, by

these actions, Lula Cellars has:

     (a) Caus[ed] a probability of confusion or misunderstanding
     as to . . . the approval . . . of goods or services.

                             ***

     (c) Represent[ed] that goods . . . have approval . . . that they
     do not have . . . .

                             ***

     (n) Caus[ed] a probability of confusion or of
     misunderstanding as to the legal rights . . . of a party to a
     transaction.

                             ***

     (s) Fail[ed] to reveal a material fact, the omission of which
     tends to mislead or deceive the consumer, and which fact
     could not be reasonably known by the consumer.

                             ***

     (bb) Ma[de] a representation of fact . . . material to the
     transaction such that a person reasonably believes the
     represented . . . state of affairs to be other than it actually is.

     (cc) Fail[ed] to reveal facts which are material to the
     transaction in light of representations of fact made in a
     positive manner.




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     53.      Section 5(1) of the Michigan Consumer Protection Act, Mich.

Comp. Laws § 445.905(1), provides for penalties for each violation of the

Act up to $25,000.00, including injunctive relief and costs.

     54.      Accordingly, Defendant is liable for and should be assessed

civil penalties for each of the Michigan Consumer Protection Act

violations.


                          REQUESTED RELIEF

     Plaintiff respectfully requests this Honorable Court to enter an

Order providing for:

     a)       Preliminary and permanent injunctive relief under the

     Twenty-first Amendment Enforcement Act enjoining

     Defendant from continuing to violate Mich. Comp. Laws

     §§ 436.1203(1), 436.1204(1), and 436.1901(1);

     b)       Preliminary and permanent injunctive relief under the

     Michigan Consumer Protection Act enjoining Defendant

     from continuing to violate the applicable provisions of that

     Act, Mich. Comp. Laws § 445.905(1);

     c)       The imposition of cumulative civil penalties against

     Defendant pursuant to section 5(1) of the Michigan


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     Consumer Protection Act, specifically $25,000.00 for each

     violation of the Act, including violations learned of through

     the course of discovery, Mich. Comp. Laws § 445.905(1);

     d)    Reimbursement of investigative expenses incurred,

     Mich. Comp. Laws § 445.905(1);

     e)    An award of costs and attorney fees, Mich. Comp. Laws

     § 445.905(1); and

     f)    Any other relief determined to be just and appropriate.


                                   Respectfully submitted,

                                   s/ Felepe H. Hall
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Dated: March 7, 2022




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